IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 18-00293-02-CR-W-DGK
TREVOR SCOTT SPARKS,
Defendant.

 

VERDICT FORM 1

We, the jury, find Defendant Trevor Scott Sparks gus | ty of the crime of
uilty — not guilty)*

conspiracy to commit money laundering, as charged in Count Two.

 

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*If you are unable to reach a unanimous decision on the above charge, leave the space blank.

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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

 

WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

v. Case No. 18-00293-02-CR-W-DGK

TREVOR SCOTT SPARKS,

Defendant.

VERDICT FORM 2
We, the jury, find Defendant Trevor Scott Sparks Gin It y of the crime of

 

euilty — not guilty)*
conspiracy to distribute 500 grams or more of methamphetamine, as charged in Count Three.

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*If you are unable to reach a unanimous decision on the above charge, leave the space blank.

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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

 

WESTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,

v. Case No. 18-00293-02-CR-W-DGK

TREVOR SCOTT SPARKS,

Defendant.

VERDICT FORM 3
We, the jury, find Defendant Trevor Scott Sparks Luilty of the crime of

 

J (guilty — not guilty)*

possession of a firearm in furtherance of a drug trafficking offense as charged in Count Four.
If you find Defendant “guilty,” you must answer the following:

Which of the following firearms did the defendant possess?

Cobra FS380 .380 caliber semi-automatic pistol (Serial# FS0999788);
and/or

wan in color (“peanut butter”) Glock 19 9mm semi-automatic pistol
(Serial# ABZZX738); and/or

C40 ga. Firearm, make and model obliterated (Serial# H380221); and/or
<~“Glock 19 9mm semi-automatic handgun (Serial# ACHY981): and/or

i Glock 22 .40 caliber semi-automatic handgun (Serial# MHAK692);
and/or

{_—TO Inc. Inter Ordinance multi-caliber pistol (Serial# SDW-001 60); and/or
Taurus 9mm (Serial# THP36424); and/or
F Gloxk 20 10mm semi-automatic handgun (Serial# BDDK234); and/or

we
‘~ Zastava Pap 7.62 caliber rifle (Serial# M92PV029294); and/or

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et
i Stag Arms model STAG-15, semi-automatic AR15 pistol (Serial# 64773);
and/or

American Tactical Imports model OMNI HYBRID, multi-caliber AR 15
rifle (Serial# N5167731); and/or

be Century Arms International Model M85NP 7.62x39 semiautomatic
handgun (Serial# M85-NP009591); and/or

(_— Winchester 1200 12 ga. shotgun (Serial# 3815); and/or
L~ Maverick 88 by Mossberg 12 ga. shotgun (Serial# MV0105656); and/or
L~ Taurus PT111G2 9mm semi-automatic pistol (Serial# TKN19799); and/or
[A Glock 22 .40 caliber semi-automatic pistol (Serial# RMX867); and/or

Smith and Wesson SD40VE, .40 caliber semi-automatic pistol (Serial#
HEY3705); and/or

ie Ruger EC9S 9mm semi-automatic pistol (Serial# 455-03954); and/or

t-te model PT111G2 9mm semi-automatic pistol (Serial# TLS49750);
and/or

by Mossberg model 500 model 12 ga. shotgun (Serial# U117427); and/or

be Smith and Wesson SD9BE 9mm _ semi-automatic pistol (Serial#
HEB0953); and/or

L— Masterpiece Arms 9mm semi-automatic pistol (Serial# F15965); and/or

et Smith and Wesson SW 40 VE .40 caliber semiautomatic handgun (Serial#
DMV7530); and/or

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*If you are unable to reach a unanimous decision on the above charge, leave the space blank.

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IN THE UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF MISSOURI

WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 18-00293-02-CR-W-DGK
TREVOR SCOTT SPARKS,
Defendant.

 

VERDICT FORM 4

We, the jury, find Defendant Trevor Scott Sparks, Lal ty of the crime of felon
uA (guilty — not guilty)*

in possession of firearms as charged in Count Five.
If you find Defendant “guilty,” you must answer the following:

Which of the following firearms did Defendant possess?

i Cobra FS380 .380 caliber semi-automatic pistol (Serial# FS0999788);
and/or

{_~ tan in color (“peanut butter”) Glock 19 9mm semi-automatic pistol
(Serial# ABZZX738); and/or

|.“ 20 ga. Firearm, make and model obliterated (Serial# H380221); and/or
/ Glock 19 9mm semi-automatic handgun (Serial# ACHY981); and/or

Lo Glock 22 .40 caliber semi-automatic handgun (Serial# MHAK692);
and/or

{~_ 10 Inc. Inter Ordinance multi-caliber pistol (Serial# SDW-00160); and/or
L~_ Taurus 9mm (Serial# THP36424); and/or
f Glock 20 10mm semi-automatic handgun (Serial# BDDK234); and/or

,__ Zastava Pap 7.62 caliber rifle (Serial4# M92PV029294); and/or

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Case 4:18-cr-00293-DGK Document 733 Filed 11/07/22 Page 5 of 6
|_~Stag Arms model STAG-15, semi-automatic AR15 pistol (Serial# 64773);
and/or

American Tactical Imports model OMNI HYBRID, multi-caliber AR 15
rifle (Serial# N5167731); and/or

Lx Century Arms International Model M85NP 7.62x39 semiautomatic
handgun (Serial# M85-NP009591); and/or

/ Winchester 1200 12 ga. shotgun (Serial# 3815); and/or
Maverick 88 by Mossberg 12 ga. shotgun (Serial# MV0105656); and/or
/~ Taurus PT111G2 9mm semi-automatic pistol (Serial# TKN19799); and/or
/-Glock 22 .40 caliber semi-automatic pistol (Serial# RMX867); and/or

(Smith and Wesson SD40VE, .40 caliber semi-automatic pistol (Serial#
HEY3705); and/or

/
Ly Ruger EC9S 9mm semi-automatic pistol (Serial# 455-03954); and/or

| Aaurus model PT111G2 9mm semi-automatic pistol (Serial# TLS49750);

and/or

Z’ Mossberg model 500 model 12 ga. shotgun (Serial# U117427); and/or

Smith and Wesson SD9BE 9mm_ semi-automatic pistol (Serial#
HEB0953); and/or

Le Masterpiece Arms 9mm semi-automatic pistol (Serial# F15965); and/or

eg
~~ Smith and Wesson SW 40 VE .40 caliber semiautomatic handgun (Serial#
DMV7530); and/or

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*If you are unable to reach a unanimous decision on the above charge, leave the space blank.

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